                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION

                               5:09CV103-V-02
                               (5:06CR37-1-V)


RAUL NIETO-NUNEZ,             )
          Petitioner,         )
                              )
       v.                     )                 ORDER
                              )
UNITED STATES OF AMERICA,     )
           Respondent.        )
______________________________)

     THIS MATTER comes before the Court upon Petitioner’s Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence,

filed September 8, 2009 (document # 1).         After having carefully

reviewed the foregoing documents, the record of Petitioner’s

criminal case, and the relevant legal precedent, the Court

concludes –- out of an abundance of caution -- that Petitioner’s

Motion should be granted, but only for the purpose of allowing

him timely to pursue a direct appeal of his underlying criminal

case.

              I.   FACTUAL AND PROCEDURAL BACKGROUND

     On December 18, 2007, a Sixth Superseding Bill of Indictment

was filed charging Petitioner (along with 12 other persons) with

conspiracy to possess with intent to distribute five kilograms or

more of powder cocaine, 50 grams or more of crack cocaine, 50

grams or more of crystal methamphetamine, and 500 grams or more




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of a mixture of methamphetamine, all in violation of 21 U.S.C. §§

841(b)(1)(A) and 846 (Count One) (Case No. 5:06CR37-1, document #

219).   Petitioner also was charged with twelve other violations

of federal law (Counts Six through Thirteen and Seventeen through

Twenty)(Id.).

      On January 2, 2008, Petitioner filed an Amended Plea Agree-

ment agreeing to plead guilty to the conspiracy charge and stipu-

lating that the amount of drugs for which he could be held

accountable was in excess of five but less than fifteen kilograms

of cocaine powder and in excess of 1.5 but less than 5 kilograms

of a mixture of methamphetamine.       (Case No. 5:06CR37-1, document

# 228).   On January 3, 2008, Petitioner appeared before the Court

for his Plea and Rule 11 Hearing.      On that occasion, the Court

engaged Petitioner in its standard, lengthy colloquy in order to

ensure that his plea knowingly and voluntarily was being tender-

ed.   After carefully considering Petitioner’s answers to its nu-

merous questions, the Court determined that Petitioner’s guilty

plea freely and intelligently was being offered and accepted the

plea.   (Case No. 5:06CR37-1, document # 231: Entry and Acceptance

of Guilty Plea form).

      On July 14, 2008, the U.S. Probation Officer filed a final

Pre-Sentence Report for Petitioner recommending that the Court

find that his total Offense Level was 34, his Criminal History

Category was I, and his resulting range of imprisonment was 151


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to 188 months imprisonment.     (Case No. 5:06CR37-1, document #

325).   On June 30, 2008, Petitioner filed a letter objecting to

the Pre-Sentence Report’s recommendation that his Offense Level

be set at 34.   (Case No. 5:06CR37-1, document # 307).           In parti-

cular, Petitioner argued that he should not have received a

three-level managerial enhancement under 3B1.1(b), and that the

Report should not have made any reference to his involvement with

any quantity of drugs which was greater than the amount to which

he had stipulated, notwithstanding the fact that such greater

amount was not used to calculate his sentence. (Id.).

     On September 8, 2008, the Court conducted Petitioner’s

Factual Basis and Sentencing Hearing.         During the course of that

proceeding, defense counsel objected to the managerial enhance-

ment.   However, after receiving extensive evidence, including

testimony from Petitioner and the case agent, the Court overruled

the objection and adopted the Report’s calculations.            The Court

then sentenced Petitioner to a term of 151 months imprisonment.

(Case No. 5:06CR37-1, document ## 363 and 364: Judgment and

Statement of Reasons, respectively).

     There was no direct appeal in this case.          However, on Sep-

tember 8, 2009, Petitioner filed the instant Motion to Vacate

asserting several claims for relief, including an allegation that

his former attorney was ineffective for failing even to consult

with Petitioner about the prospects of pursuing an appeal, or to


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ascertain whether Petitioner wanted to pursue an appeal(document

# 1, 4).   Petitioner has signed his Motion to Vacate under penal-

ty of perjury (document # 1, 6).

                               II.   ANALYSIS

     As an initial matter, this Court notes that the Supreme

Court previously has observed that a defendant has an absolute

statutory right to a direct appeal.       Rodriquez v. United States,

395 U.S. 327 (1969).    Furthermore, the High Court has instructed

that it is the defendant who has the ultimate authority to make

the fundamental decision as to whether to take that appeal, Jones

v. Barnes, 463 U.S. 745, 751 (1983); and that counsel’s obliga-

tion to assist the defendant includes a duty “to consult with the

defendant on important decisions” such as whether or not to take

an appeal.   Strickland v. Washington, 464 U.S. 668, 688 (1984).

Thus, the Supreme Court has said that in a typical case, even

where a defendant has not approached his attorney and specifical-

ly directed counsel to appeal, “the better practice is for

counsel routinely to consult with the defendant about an appeal.”

Roe v. Flores-Ortega, 528 U.S. 470, 478 (2000).           Under those

circumstances, the term “consult” means to advise the defendant

of the advantages and disadvantages of an appeal and make “a

reasonable effort to discover the defendant’s wishes.”             Id.

Although the Roe Court declined to announce a per-se consultation

rule, it   noted its expectations that “the courts evaluating the


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reasonableness of counsel’s performance using the inquiry we have

described will find, in the vast majority of cases, that counsel

had a duty to consult with the defendant about an appeal.”             Id.

at 481.

     In United States v. Witherspoon, 231 F.3d 923, 926 (4th Cir.

2000), the Fourth Circuit instructed that under the Flores-Ortega

analytical guidelines:

          An attorney who fails to file an appeal after
          being instructed by his client to do so is
          per se ineffective. . . . When a client does
          not specifically instruct counsel to appeal,
          however, whether counsel has been ineffective
          by failing to appeal depends upon ‘whether
          counsel in fact consulted with the defendant
          about an appeal’. . . . If counsel has not
          consulted with his client, the court must
          then ask whether the failure to consult it-
          self constitutes deficient performance. . . .
          The Sixth Amendment requires counsel to con-
          sult with the defendant concerning whether to
          appeal when counsel has reason to believe
          ‘either (1) that a reasonable defendant would
          want to appeal (for example, because there
          are nonfrivolous grounds for appeal), or (2)
          that this particular defendant reasonably
          demonstrated to counsel that he was
          interested in appealing’. . . .

See also Frazer v. South Carolina, 430 F.3d 696, 707-08 (4th Cir.

2005) (affirming district court’s grant of relief to § 2254

petitioner who had non-frivolous issue for appeal about which

counsel failed to consult).

     Relevant to the first of Roe’s two alternative tests, the

Court notes that during allocution, Petitioner expressed dis-

satisfaction with his proposed sentence in that he indicated his

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disbelief concerning the sentencing range which he was facing.

Furthermore, while the record reflects that Petitioner was con-

victed upon his guilty plea, it also shows that he objected, both

before and during sentencing, to this Court’s application of the

three-level managerial enhancement under Guidelines § 3B1.1(b).

Moreover, the Court notes that in the absence of that enhance-

ment, even with the 10-year statutory minimum mandatory term,

Petitioner’s entire Guidelines range of 120 to 135 months (for

31/I), would have been below the 151-month term which he receiv-

ed.    To be clear, the Court is not, in any sense, implying or

otherwise suggesting that its application of the enhancement was

erroneous.1      Rather, the Court notes this fact merely for the

purpose of supporting its determination that, when his pro-se

claim is liberally construed, Petitioner sufficiently has estab-

lished a reasonable probability that, but for counsel’s failure

to consult with him, Petitioner timely would have appealed his

sentence.

       Therefore, out of an abundance of caution, the Court finds

that it should grant Petitioner’s Motion to Vacate, but only for

the purpose of allowing him to file a direct appeal.              Roe, 528 at

484.       Indeed, in cases such as this one, the prescribed remedy is

to vacate the original Judgment and enter a new Judgment from

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       In fact, given that Petitioner’s Pre-Sentence Report contained refer-
ences to his having directed others in their duties for this on-going and
widespread conspiracy and the case agent’s testimony supported those
references, the Court is confident that the enhancement was proper.

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which an appeal can be taken.     Thus, the Court will vacate its

Judgment, so that Petitioner may appeal his conviction and/or

sentence.

                 III.   NOTICE OF APPELLATE RIGHTS

     Mr. Nieto-Nunez, you hereby are advised that you have an

absolute right to appeal your criminal case and any issues in it

to the Fourth Circuit Court of Appeals.       If you decide to do

that, you will have to file a Notice of Appeal with the Clerk of

this District Court within 10 days after the day your new Judg-

ment of conviction is filed with this Court.        Upon your request,

the Clerk can assist you in preparing your Notice of Appeal.

     If you previously were determined to be indigent in connec-

tion with your criminal case, or if you now are indigent and are

unable to pay for an appeal, you may request permission to pro-

ceed on appeal without having to pay the applicable filing fees.

You should discuss the question of appeal with your attorney, if

you have one.   Notwithstanding whatever he or she may tell you,

the responsibility for filing the Notice of Appeal remains with

you, and you must file such Notice within the aforementioned 10-

day period in order to make it effective.

     Finally, since the Court has decided to grant Petitioner’s

Motion to Vacate for the purpose of restoring his appellate

rights, it must defer ruling on the remaining claims set forth in

his Motion.   See United States v. Killian, 22 Fed. App’x. 300,


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301 (4th Cir. 2001)(noting that where district court grants

motion to vacate on a ground such as this, the court must defer

ruling on petitioner’s remaining claims) (unpublished).            There-

fore, those claims are dismissed without prejudice.

                               IV.   ORDER

     NOW THEREFORE, IT IS HEREBY ORDERED:

     1.   That Petitioner’s Motion to Vacate is GRANTED, but only

for the purpose of allowing Petitioner timely to appeal his case;

     2.   That Petitioner’s original Judgment is VACATED due to

counsel’s failure to consult with Petitioner concerning his

desire for an appeal;

     3.   That the Clerk is directed to prepare a new Judgment

with the same sentence and conditions as imposed in the original

Judgment;

     4.   That Petitioner may appeal from his new Judgment as has

been explained in this Order; and

     5.   That the Clerk shall send copies of this Order to Peti-

tioner and to the United States Attorney for the Western District

of North Carolina.




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  SO ORDERED.



                                 Signed: October 19, 2009




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